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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

    LASHAWN JONES, ET AL.                             CIVIL ACTION NO. 12-859

    VERSUS                                            SECTION I, DIVISION 5

    MARLIN GUSMAN, ET AL.                             JUDGE LANCE M. AFRICK
                                                      MAGISTRATE JUDGE NORTH



                       CITY OF NEW ORLEANS’ RESPONSE
             TO THE COURT’S ORDER OF MARCH 16, 2022 (REC. DOC. 1497)

        NOW INTO COURT, through undersigned counsel, comes Third-Party Defendant, City

of New Orleans (“City”), who respectfully submits this response to the Court’s order and directive

of March 16, 2022,1 and represents as follows:

        In its Minute Entry of March 16, 2022 (“Minute Entry”),2 the Court ordered the City “. . .

to produce to the parties and to the Court all documentation of any sort (i.e., written

correspondence, emails, and/or minutes of meetings or telephone conferences) of communications

between the City and/or its consultants on the one hand and FEMA on the other regarding the

alleged need to ‘reopen’ or extend the 106 process, including FEMA’s direction that additional

public hearings are required prior to the procurement phase being initiated.” In response, the City

produces the following documentation:

        1.) November 17, 2021, email correspondence3 from the City to FEMA requesting a

             meeting to review acquired information and documentation, in order to begin drafting

             the final EHP report.




1
  R. Doc. 1497.
2
  Id.
3
  Attached hereto as Exhibit A.
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        2.) November 24, 2021, interoffice email correspondence4 from Vincent Smith, of the City

             of New Orleans, to the City’s FEMA grants manager for the OJC project, forwarding

             the City Planning Commission’s (the “CPC”) final report and documentation gathered

             from the CPC public engagement meetings and the City's Office of Neighborhood

             Engagement public engagements, which was then sent to FEMA in advance of a

             meeting scheduled for November 29, 2021.

        3.) November 30, 2021, email correspondence5 from Vincent Smith, of the City of New

             Orleans, to Dr. Paul Lo, of MMG Environmental (“MMG”), requesting a proposal to

             assist with completion of the FEMA EHP requirements and report.

        4.) December 6, 2021, email correspondence6 from John Sousa, of Hill International, Inc.,

             to Tommie Vassel, transmitting the final CPC report sent to FEMA and notes from the

             November 29, 2021, meeting with FEMA.

        5.) December 16, 2021, email correspondence7 from John Sousa, of Hill International,

             Inc., to Tommie Vassel, requesting assistance in acquiring the OPSO Operations and

             Staffing plan.

        6.) January 6, 2022, email correspondence8 from John Sousa, of Hill International, Inc., to

             Tommie Vassel, requesting assistance with acquiring the OPSO Phase I and II

             Environmental Site Assessment Study to assist the City with completing the FEMA

             106 process.




4
  Attached hereto as Exhibit B.
5
  Attached hereto as Exhibit C.
6
  Attached hereto as Exhibit D.
7
  Attached hereto as Exhibit E.
8
  Id.


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        7.) January 17, 2022, email correspondence9 from John Sousa, of Hill International, Inc.,

             to FEMA representatives to schedule a meeting (on January 27, 2022) to introduce the

             MMG/Ramboll team and to discuss forward plans.

        8.) January 27, 2022, email correspondence10 from John Sousa, of Hill International, Inc.,

             to Vincent Smith, of the City of New Orleans, providing meeting notes from the

             January 27, 2022, meeting with FEMA.

        9.) All meeting summaries11 between the City/Hill and the MMG/Ramboll team from

             February 3, 2022, to March 16, 2022.

        10.) March 18, 2022, letter12 from the City of New Orleans to FEMA, through the

             Governor’s Office of Homeland Security and Emergency Preparedness, requesting an

             extension of the current period of performance date, from December 12, 2021, to June

             30, 2022.

        On November 17, 2021, the City contacted FEMA representatives to schedule a

coordination meeting and review the FEMA 106 Process (namely, the CPC final report and

recommendation to City Council).13 The FEMA representatives requested, and the City provided,

a summary of the CPC’s final report.14

        During the October 20, 2021, Executive Group meeting, OPSO-P/BA raised the

recommendation to add additional Acute Female Cell and Beds to the Phase III design. This was

discussed with FEMA at the November 29, 2021, meeting; and the City was informed that if




9
  Attached hereto as Exhibit F.
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   Attached hereto as Exhibit G.
11
   Attached hereto as Exhibit H.
12
   Attached hereto as Exhibit I.
13
   Exhibit A.
14
   See Exhibit D (providing notes from the November 29, 2021, meeting with FEMA).


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additional beds or cells were added to the design, the public engagement process would have to be

redone.15 The City immediately shared this information with Tommie Vassel.16

         FEMA was concerned with the number of returned letters and the public responses during

the public engagement process. The City provided to FEMA documentation and response from

CPC (receipt of return letters, i.e., those letters that were return as “undeliverable,” are

commonplace due to vacant properties and no forwarding addresses).

         FEMA indicated that as part of the 106 process, the City is required to complete an

Environmental Site Assessment report (a “NEPA”). Because OPSO had completed a NEPA

report(s) for Phase I and Phase II of the OJC Campus, the City and FEMA discussed whether

another Environmental study was required.17 (FEMA ultimately concluded that it would be

required.)18 FEMA and the City discussed the use of Environmental Engineering companies

specializing in preparing NEPA reports for FEMA.19 The following day, the City engaged MMG

to discuss project scope. The City also reached out to OPSO and Tommie Vassel to assist in

obtaining a copy of previously completed NEPA reports.20 (This item and request were discussed

at the December 15, 2021, Executive Group meeting. To date no report has been shared with the

City.)




15
   See Exhibit D (notes from the November 29, 2021, meeting with FEMA).
16
   Id.
17
   See id.
18
   See Exhibit G (notes from the January 27, 2022, meeting with FEMA). During the January 27, 2022, meeting,
FEMA representatives addressed FEMA’s process for the NEPA 106 review. The discussion centered on the past two
NEPA reports completed at the OJC Campus for the Phase I and Phase II sites. The City requested from FEMA copies
of these previously completed reports. FEMA explained that the Phase III project site and report will be different, as
they fall under different sets of requirement and guidelines, notably because this Phase III project is adding to the bed-
count of the existing jail facility campus. The other projects were considered starting from scratch clean sites. FEMA
further stated that because of the public consideration, opinion, and opposition to this project, if the City were to
proceed with a “retrofit” project, then FEMA would have to reconsider the NEPA process, regulations, and guidelines
going forward.
19
   See Exhibit D (notes from the November 29, 2021, meeting with FEMA).
20
   Exhibit E.


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       In the Minute Entry, the Court further directed the City “. . . to provide to the Court and

the parties the names and contact information of the individual FEMA representatives with whom

it has been communicating on the [pending FEMA 106] issues, including but not limited to the

individuals identified . . . at the status conference.” The City has been in communication with the

following FEMA representatives, regarding these issues:

   1) John Connolly (john.connolly2@fema.dhs.gov)
      Emergency Management Specialist/Public Assistance
      Louisiana Integration and Recovery Office
      FEMA Region 6
      1500 Main Street
      Baton Rouge, LA 70802
      (225) 338-7222

   2) Jeramé J. Cramer (jerame.cramer@fema.dhs.gov)
      EHP Program Lead LIRO
      EHP Advisor DR-4559/4570/4577/4590-LA
      Louisiana Integration and Recovery Office
      FEMA Region 6
      1500 Main Street
      Baton Rouge, LA 70802
      (504) 247-7771

       The City respectfully acknowledges that it is under an ongoing obligation to supplement

this production as it continues to communicate with FEMA concerning Phase III.

                                             Respectfully submitted,

                                             /s/ Donesia D. Turner
                                             DONESIA D. TURNER (LSBA #23338)
                                             City Attorney
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                                             CITY HALL - ROOM 5E03
                                             NEW ORLEANS, LOUISIANA 70112
                                             TELEPHONE: (504) 658-9800
                                             FACSIMILE: (504) 658-9868
                                             Counsel for the City of New Orleans


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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 25, 2022, a copy of the foregoing was served,

contemporaneously or prior, upon all counsel of record in this proceeding via the court’s CM/ECF

system.

                                     /s/ Donesia D. Turner
                                     DONESIA D. TURNER




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